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                        Nos. 23-1083 and 23-1084

_______________________________________________________________
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                SGCI HOLDINGS III LLC, TEGNA INC.,
            AND CMG MEDIA CORPORATION, APPELLANTS

                                   v.

        FEDERAL COMMUNICATIONS COMMISSION, APPELLEE
                  _____________________________

              IN RE SGCI HOLDINGS III LLC, TEGNA INC.,
            AND CMG MEDIA CORPORATION, PETITIONERS
                    _____________________________

       OPPOSITION TO EMERGENCY MOTION TO EXPEDITE
                      AND CONSOLIDATE
                 _____________________________




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                   OPPOSITION TO EMERGENCY MOTION
                     TO EXPEDITE AND CONSOLIDATE

      Proposed Intervenors/Respondents The Communications Workers of

America (including the NewsGuild-CWA and the National Association of

Broadcast Employees and Technicians-CWA) (“CWA” or where appropriate,

“TNG-CWA/NABET-CWA”), Common Cause and the Office of Communication

of the United Church of Christ, Inc., doing business as the United Church of Christ

Media Justice Ministry (collectively, “Intervenors”) respectfully submit this

opposition to the Appellants/Petitioners’ Emergency Motion To Expedite and

Consolidate. (“Motion”)

                                      Introduction

      Petitioners/Appellants seek the Court's expedited review of the FCC's

Hearing Designation Order ("HDO"), which they falsely claim is a final order and

thus appealable. The Motion is premised on several strained contrivances that

readily collapse under scrutiny. First, it lauds certain public interest benefits to the

proposed transaction that it prematurely asks the Court to validate when the FCC

has not yet performed its statutory duty to determine that very question. Second,

the so-called “emergency” on which the Motion is premised is of the

Petitioners/Appellants’ own making. Their privately negotiated deadlines do not

justify circumventing the FCC's process for determining whether grant of their

multiple applications would serve the public interest. Third, the Motion does not
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substantiate its claim of egregious delay by the FCC in its review of the

applications. Indeed, the FCC employed a reasonable and timely process, allowing

public participation as required by the Communications Act. Fourth, it is

unnecessary for the Court to consider the Motion's argument that the FCC's Office

of Administrative Law Judges is unconstitutional, since, among other reasons, the

FCC has alternative means of adjudicating the two issues of fact that it set for

hearing. Fifth, the Motion disputes the FCC's authority to regulate retransmission

consent rates, private employment matters, or interfere with privately negotiated

contracts. The FCC is doing none of these things. Rather, the FCC is legitimately

concerned with the effect of rate increases on consumers, potential harms to

localism in broadcasting, and whether the transaction is in the public interest.

Sixth, its claim that challengers to the Applications did not present sufficient

evidence to warrant a hearing is specious. The Communications Act

unquestionably empowers the FCC to initiate a hearing based on its own review of

applications, irrespective of the presence or absence of challenges.

                                     The Appeal

      The request to consolidate these cases would have this Court act on the

appeal filed under 47 U.S.C. §402(b) within a month. The appeal is nothing less


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than a challenge to the very constitutionality of the FCC’s administration of

broadcast licensing and other telecommunications adjudications and its statutory

implementation of the Communications Act. Moreover, this challenge has been

mounted in a purported appeal of non-final agency action as to which this Court

will likely conclude that it has no jurisdiction to hear.

      It is a stunning act of overreach to bring such a challenge at all, but the

Appellants/Petitioners would have their case briefed and resolved in weeks,

because, they say, they face harm arising from the contract termination date which

they selected in private negotiations among themselves. Such precipitous litigation

would transgress Intervenors’ statutory and constitutional rights. Much more

significantly, and leaving aside the burden this would impose on litigants lacking

the deep pockets of the Appellants/Petitioners, such a truncated process would

deny opposing parties, the government and the public the benefit of meaningful

judicial evaluation of these sweeping arguments and thereby would impose

grievous damage to the rule of law.

      For these reasons and others discussed below, consolidation and expedition

as to the pending appeal should be denied so that, if not dismissed on jurisdictional

grounds, it can be properly briefed, heard and resolved.


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                               The Mandamus Petition

      The mandamus petition is less momentous in part because it is so lacking in

merit. In the context of this litigation, the proposed filing schedule as applied to the

request for mandamus, should the Court choose to invite responses, is

unreasonable and unduly burdensome on the other parties. Because of the burden,

and the lack of merit, Intervenors urge the Court to limit expedition, if at all, to the

mandamus petition alone.

          There Is No Imminent Harm That Justifies Any Grant of Relief

      Given the short deadline afforded for response to the emergency motion, for

a more fulsome history of this and other issues in this case and more detailed

citations, Intervenors respectfully refer the Court to their March 24, 2023

Opposition to Unauthorized Application for Review (“UAFR”). The

Appellants/Petitioners did not include this pleading in their Addendum. Thus,

Intervenors are attaching the document to this opposition as a Supplemental

Addendum and ask that this Court waive any such rules that might not otherwise

allow providing it as an attachment.1


      1
       The Opposition to Unauthorized Application for Review is also available in
the FCC public electronic docket should the Court wish to take judicial notice:
      https://www.fcc.gov/ecfs/search/search-filings/filing/1032483463598
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       The central premise of the motion for expedition and consolidation as well

as for mandamus relief rests on the central premise that Petitioners/Appellants are

entitled to grant of their applications by May 22, 2023. They claim, without

substantiation, that they are unable to extend their contractual termination beyond

that date.2

       Private parties do not dictate regulatory deadlines. Whether the

Petitioners/Appellants can extend their loan commitments or find new lenders is

entirely their responsibility. Their sales agreement allowed the parties to avail

themselves of two extensions of 90 days each. In arms-length private negotiations

among themselves and their lenders, the parties could have selected a different

termination date. They could have negotiated for three, four or more extensions.

This was their mistake, and it is not up to the FCC or this Court to fix it for them.

       The Petitioners/Appellants also attempt to blame Intervenors and the FCC

for the delay in processing their applications. In fact, protracted length of the

agency review is attributable to what was put before them. The

       2
        Petitioners/Appellants proceed as if they are the only parties in interest. 47
U.S.C. § 309(d)(1) expressly confers the right to file petitions to deny, and 47
U.S.C. § 309(e) gives parties the right to participate in any designated hearing. A
premature termination of this proceeding based on dates selected by
Petitioners/Appellants could only come by transgressing Intervenors’ rights.

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Petitioners/Appellants have sought approval of a package of transactions which

deserved much more intense scrutiny than any other broadcasting case in recent

memory, and perhaps ever. As a consequence of this complexity, and their own

failure to present needed information to justify approval, they have yet to meet

their statutory burden of demonstrating that grant of their applications would be in

the public interest.

       A simple sale of TEGNA to a single qualified purchaser would likely have

been approved as a matter of course. It is the Petitioners/Appellants who concocted

a sequenced series of transactions of unprecedented complexity with the undenied

purpose of increasing retransmission fees that would be passed on to the public,

including Intervenors’ members. It is the Petitioners/Appellants who chose to bring

an additional non-TEGNA station into the deal, notwithstanding that the station is

controlled by a competing licensee which would then hold an equity interest in

post-transaction TEGNA, potentially in violation of FCC ownership rules. It is the

Petitioners/Appellants whose internal documents raise serious questions as to

whether they will impair the Commission's core localism goals by cutting job

positions necessary to provide adequate local programming. And it is the

Petitioners/Appellants who failed to take advantage of multiple opportunities to


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supplement the record to correct deficiencies, many of which were called to their

attention within weeks of the filing of the applications, even before the initial

deadline for petitions to deny.

      Nor is it the case that the FCC “slow rolled” its administration of the case.

Motion, p. 19. To the contrary, the FCC staff moved with alacrity, giving the

Petitioners/Appellants two additional opportunities to eliminate questions that

might have allowed for grant without a hearing, in addition to the Commission's

liberal filing rules which permit the applicant to supplement the record at any time.

It is the Petitioners/Applicants who hid the ball and then failed to take the hint and

file additional information without being required to do so.

      As more fully described in the UAFR (Supp. Add. pp. 10-12), before the

initial deadlines for petitions to deny in early June, 2022, the public interest parties

sought to accelerate the process by calling attention to shortcomings in the

applications that would have to be addressed before any possible grant. This

resulted in a staff request for supplemental filings that, if fully complied with,

could have expedited completion of the case, without materially extending any

filing deadlines. However, having found that there were still shortcomings in the

record, Intervenors’ August 1, 2022 reply identified nine categories of information


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without which, they said, the Commission “cannot determine the exact nature of

AGM's relationship to Standard General....” (Add. pp. 691-692). Although the

Petitioners/Appellants could have voluntarily supplemented the record with the

identified documents, they chose not to do so. Thus, upon review of the record, on

September 29, 2022, the Media Bureau issued a further request for documents and

information, again setting tight deadlines for responses and any supplements to the

petition to deny.

      It is also critical to stress that, since the Applicants had failed to establish

that grant is in the public interest, the Commission or staff could have simply

designated a hearing at the completion of the initial pleading cycle. By identifying

specific shortcomings in the record, the Intervenors provided a road map for what

the Petitioners believed the Applicants would have to show to avoid a hearing.

Even after receiving two such directives from the agency, the Applicants followed

their own route, creating delays of their own making. And having failed to resolve

important questions of fact, they left the FCC with an incomplete record that

required designation of a hearing. See 47 U.S.C. 309(d)(2).

 The Merits Cannot of the Appeal Cannot and Should Not Be Precipitously Briefed

      The appeal is a full bore challenge to every aspect of the FCC’s


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administration of the license renewal, transfer and assignment process. The relief

sought here would upend the procedures, precedents and legal standards in place

since 1934. The vast scope of this appeal simply cannot be combined with the

mandamus proceeding and most certainly cannot be meaningfully considered on

the self-generated time table the Petitioners/Appellants demand. To repeat: they

seek to avoid the consequences of having entered into an unwise contract by

disrupting the entire broadcast regulatory scheme.

      The Petitioners/Appellants persist in claiming that the FCC had no basis to

find that there are substantial and material facts about the case that require

exploration at a hearing. They are wrong. Even so, they do have the right to seek

review of the agency’s action, but only at such time as it actually takes final action.

      To consider the merits of this case, this Court would need to assume this

Court’s precedents do not exist, that it has the jurisdiction to hear a non-final

matter even when an agency’s staff has acted under unchallenged delegated

authority, that the agency’s rules expressly state that the action is not subject to

interlocutory review, that parties simply declare that the agency has taken final

action because they want to come to this Court, all because they negotiated a

contract they now don’t like. The Court would need to find that if the interests of


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other parties stand in the way, it Court can ignore them. This meritless appeal

should not be afforded consolidation and expedition, but to address

Petitioners/Appellants’ claims, Intervenors must take them at their word to

demonstrate just some of the flaws in their cases.

      It is true that hearing designations involving politically potent and deep-

pocketed applicants happen only rarely, but they do happen.3 And this is not a

garden variety transfer of control of a broadcast licensee. Rather, it involves

numbingly complex series of transfers between and among three companies.

Notably, Petitioners/Appellants do not allude to the highly unusual structure of the

proposed transactions here at issue. Indeed, the HDO devoted three full paragraphs

just to set out a high-level description of the carefully sequenced transactions. Cite

This includes using Cox Media Group’s (“CMG”) Boston TV station as the

corporate vehicle to acquire TEGNA and immediately selling that expanded

vehicle to Standard General for the undisputed purpose of allowing post-

transaction TEGNA to charge the higher Cox retransmission fee rates. The deal

would also allow CMG’s parent, Apollo Global Management (“AGM”) to acquire

a substantial, nominally non-voting, interest in post-transaction TEGNA even as


      3
       See, e.g., Tribune Media Company, 33 FCC Rcd 6830 (2018).
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CMG would still hold de facto control of 13 full-power owned or operated TV

stations, six of which are in markets that overlap TEGNA holdings, thereby raising

concerns about the ability of CMG and post-transaction TEGNA to signal or share

information, not just on retransmission consent, but on programming, procurement

and other contracts, implicating violations of FCC rules and antitrust prohibitions.

Cite. This is not an illusory problem; in fact, both CMG and TEGNA remain

subject to a DOJ consent decree because of past collusion on advertising rates in

violation of the Sherman Act.4

       The Hearing Designation Order properly found that Applicants’ last minute

attempt to waive certain retransmission contracts did not resolve that question.

This is explained in depth by the American Television Alliance. (Add. pp. 850-

856)

       Intervenors TNG-CWA/NABET-CWA also presented evidence, much of

which comes from the Applicants' own submissions, indicating that Standard

General would help finance its operations by reducing its salary and other costs by

cutting TEGNA jobs, thereby reducing local service and impeding the


       4
       U.S. v. Sinclair Broadcast Group, Inc., 2019 WL 7584759
(2019)(TEGNA); U.S. v. Sinclair Broadcast Group, Inc., 2019 WL 7584730
(2019)(Cox).
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Commission's core localism goal. Here, too, the HDO determined that substantial

questions remain, even after another desperate unsolicited letter claiming to have

fixed everything. See HDO at 12 (Add. 939); id., at 18 (Add. p. 956).

      The complexity of this transaction and the questions raised in the record

amply justified a hearing designation. And they indubitably caution against

attempting to review the merits of this case simultaneously with a mandamus

motion, much less on an expedited basis.

     There is no Valid Constitutional Issue Justifying Extraordinary Relief

      The Applicants have attempted to create a Constitutional issue in this case

with respect to the status of the ALJ under Article II. There is none, and certainly

none that justify extraordinary relief by mandamus or an expedited appeal.

      Even if there ever were a genuine issue as to whether the powers of an FCC

ALJ might be questioned under Article II of the Constitution in an adjudicatory

matter under 47 U.S.C. § 309, a point Intervenors do not concede, it does not arise

in this case. That is because, as explained in Intervenors’ opposition to the UAFR,

in this case the ALJ’s role is much more limited than in most cases because ALJ

was not directed to make the final public interest determination, what is

colloquially referred to as “ultimate issue.” Thus, ALJ is functioning here


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essentially as would any other FCC employee, making non-binding

recommendations on essential but subsidiary issues that are appealable to the full

Commission. The next steps will be performed by the FCC or an FCC employee

who lacks for cause removal protection and would therefore not implicate Article

II.

      Moreover, and in any event, the Commission has established specific

procedures allowing the full Commission en banc, a single Commissioner or an

employee to be appointed as a “case manager to gather evidence for the

Commission.5 If a reviewing body ever determined that the appointment of the ALJ

was suspect, principles of constitutional avoidance would allow the ALJ to be

treated as a “case manager” in making her subsidiary findings of fact for the

purposes of this case. Indeed, that is essentially what the Supreme Court did in

Free Enterprise, where it applied principles of constitutional avoidance to remedy

a problem using existing agency structures.6 This Court afforded similar treatment

      5
        Procedural Streamlining of Administrative Hearings, 35 FCC Rcd 10729
(2020),
      6
        Free Enterprise Fund v. Public Company Accounting Oversight Board, 561
U.S. 477, 508-510 (2010); id. 477 U.S. at 508 (“Generally speaking, when
confronting a constitutional flaw in a statute, we try to limit the solution to the
problem,” severing any “problematic portions while leaving the remainder intact.”
Ayotte v. Planned Parenthood of Northern New Eng., 546 U.S. 320, 328–329
(2006)).
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in Intercollegiate Broadcasting System, Inc. v. Copyright Royalty Tribunal Board,

684 F.3d 1322, 1340, finding that “invalidating and severing the problematic for-

cause restriction was the best solution matching the problem and preserving the

remainder intact.”

      These distinctions are especially important here, because they underscore the

Applicants’ massive overreach in the UAFR. Even it if it were found that the

delegation to the ALJ to resolve subsidiary issues and the appointment of the ALJ

raised constitutional questions, they are not entitled to their demand that the

Commission immediately grant the Applications. One way or another, there must

be a hearing.

          The Motion Fails to Show Good Cause for the Relief it Seeks

      Petitioners/Appellants contend that the HDO effectively kills the transaction

and therefore was a final action that entitles them to review by this Court. The

Motion supports this claim with a snippet from Friedman v. FAA, 841 F.3d 537,

543 (D.C. Cir. 2016) indicating that an agency's actions suggest it has made up its

mind. In Friedman v FAA, 890 F.3d 1092,1096 (2018), however, the Court denied

review of the FAA's order on remand that provided reasons for the agency's

decision, stating that the FAA had provided adequate justification. The Motion's


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reference to Whitman v. American Trucking Ass'ns, 531 U.S. 457, 478 (2001) is

equally unhelpful, since “the word ‘final,’…requires that the action under review

mark the consummation of the agency's decisionmaking process.”(citation

omitted), which clearly is not the case when the FCC has designated a hearing that

has not even begun. Nor does Environmental Defense Fund, Inc. v. Hardin, 428

F.2d 1093, 1099 (D.C. Cir. 1970), issued long before this Court developed its

TRAC standard,7 provide support for Petitioners/Appellants’ argument of effective

denial: “Clearly relief delayed is not always equivalent to relief denied. There are

many factors that result in delay, and a court is in general ill-suited to review the

order in which an agency conducts its business.” There the Court was unable to

decide whether delay amounted to a refusal to act and remanded the matter to the

agency for further proceedings. Id., at 1100.

     The Appellants/Petitioners Have Failed to Support Their Claim that
                     May 22, 2023, is a Final Deadline

      If the hearing and final action on the Applications cannot be concluded

before May 22, 2023, it is Petitioners/Appellants own short-sightedness in failing

to anticipate that the FCC might require an evidentiary hearing on this complex

transaction and making adequate provision in their privately-negotiated

      7
       See TRAC v. FCC, 750 F.2d 70 (D.C. Cir. 1984).

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agreements. Petitioners/Appellants, moreover, have not provided any support for

their unqualified claim that May 22, 2023, is a “final deadline.” Federal Rules of

Appellate Procedure, Rule 27 (a)(2)(B)(i) requires that Appellants file: “Any

affidavit or other paper necessary to support a motion must be served and filed

with the motion.” Not a single affidavit from any officer, or director of the

Petitioners/Appellants was submitted either to the FCC or this Court stating that

May 22, 2023 is truly a final deadline. Petitioners/Appellants have not provided

any affidavit or other evidence stating that they cannot extend their financing

commitments or obtain financing elsewhere. Significantly, they have not moved

the Administrative Law Judge to dismiss the hearing, which remains in an active

state before the FCC. The Appellants want to have their cake and eat it too. They

are hoping to win in this Court on the FCC's “final action,” but if not, they can still

go back to the FCC and try to get the matter resolved in the hearing process. The

Court, therefore, should disregard Petitioners/Appellants’ claim that financing for

the deal will be lost. To allow this case to proceed would set a dangerous

precedent. Going forward, applicants before the FCC and other agencies could

simply set arbitrary deadlines for agency action. When that deadline is not met,

they could then come to this Court to demand that intervene on an expedited


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schedule of their choosing.

 The Petitioner/Appellants have Come to Come to Court with Unclean Hands.

      Petitioners/Appellants seek to expedite these two cases and have them

briefed on an accelerated schedule. At the same time, they have sought to block

newly retained counsel for Intervenors from accessing key documents needed to

participate in preparing briefs in before the Court. After the Petitioners/Appellants'

applications were designated for hearing, the firm of Smithwick & Belendiuk, P.C.

was retained to assist in the litigation. On March 15, 2023, counsel filed an

Acknowledgments of Confidentiality to receive access to Confidential and Highly

Confidential Information pursuant to the terms of the Protective Order released

June 3, 2022, in MB Docket No. 22-162.8 This was a routine filing which would

have permitted counsel to review confidential documents which underpin the

Media Bureau's decision to designate the matter for hearing. On March 20, 2023,

the Appellants objected to the request.9 The ALJ has not ruled on this motion and

given the state of the proceeding is not expected to rule on the motion.

Petitioners/Appellants made it clear that they would be seeking relief from the

Court on an expedited basis. Their action has hobbled Intervenors' ability to

      8
       https://www.fcc.gov/ecfs/search/search-filings/filing/103151723315253
      9
       https://www.fcc.gov/ecfs/search/search-filings/filing/10320215466467
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effectively participate in this proceeding. Mandamus is not a writ of right. It issues

to remedy a wrong, not to promote one, and will not be granted in aid of those who

do not come into court with clean hands. United States ex rel. Turner v. Fisher,

222 U.S. 204, 32 S. Ct. 37 (1911). Appellants have not come to Court with clean

hands. They argue that time is of the essence and that the FCC and the Court must

act on the schedule they set, while seeking to block or delay Intervenors from

effectively participating in this proceeding.

                                      Conclusion

      Wherefore, this Court should deny the motion to consolidate and grant the

motion to expedite, if at all, only with respect to No. 23-1084.

                                         Respectfully submitted,

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March 29, 2023

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                     CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(g)(1), the undersigned certifies
that this motion complies with the applicable type- face, type style, and type-
volume limitations. This motion was prepared using a proportionally spaced type
(New Times Roman, 14 point). Exclusive of the portions exempted by Federal
Rule of Appellate Procedure 32(f) and D.C. Circuit Rule 32(e)(1), this motion
contains 3727 words. This certificate was prepared in reliance on the word-count
function of the word-processing system used to prepare this motion.
                                                   Respectfully Submitted,

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March 29, 2023
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on March 29, 2023, I electronically filed the foregoing
Opposition to Emegency Motion to Expedite and Consolidate with the Clerk for
the United States Court of Appeals for the District of Columbia Circuit using the
appellate CM/ECF system. Participants in the case who are registered CM/ECF
users will be served by the appellate CM/ECF system.

I further certify that I have caused the foregoing petition to be served by FedEx
overnight service and by electronic mail on the Commission and on parties to the
proceedings before the Commission as follows:

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March 29, 2023
